         Case 2:16-cv-03887-GAM Document 68 Filed 10/21/20 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF PENNSYLVANIA


 GARTOR KIKI BROWN,                                    :
                                Plaintiff,             :              CIVIL ACTION
                                                       :
                       v.                              :             No. 16-3887
                                                       :
 DR. RONALD PHILLIPS,                                  :
                                Defendants.            :



                                              ORDER


       This 21st day of October, 2020, for the reasons stated in my accompanying memorandum,

it is hereby ORDERED that Defendant Phillips’ Motion for Summary Judgment (ECF 61) is

GRANTED and this case is DISMISSED WITH PREJUDICE. It is further ORDERED that

Plaintiff’s Motion in limine (ECF 60) and Motion for Trial (ECF 59) are DENIED as moot.

The Clerk of Court shall mark this case closed for statistical purposes.

                                                               /s/ Gerald Austin McHugh
                                                              United States District Judge
